              Case
     Fill in this      23-18534-JKS
                  information                   Doc 1
                              to identify your case:       Filed 09/29/23 Entered 09/29/23 14:52:24                              Desc Main
                                                           Document     Page 1 of 65
     United States Bankruptcy Court for the:

     ____________________
     District of New JerseyDistrict of (State)
                                       _________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                             Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Italian German Exhibition Company (USA) Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               8755 W. Higgins Rd.                                      _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite 900
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Chicago                     IL      60631
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Cook County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 23-18534-JKS             Doc 1         Filed 09/29/23 Entered 09/29/23 14:52:24                              Desc Main
                                                         Document     Page 2 of 65
                Italian German Exhibition Company (USA) Inc.
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                             _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the             
                                         ✔ Chapter 7
      debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
         Case 23-18534-JKS                     Doc 1      Filed 09/29/23 Entered 09/29/23 14:52:24                               Desc Main
                                                          Document     Page 3 of 65
               Italian German Exhibition Company (USA) Inc.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______     ________________
                                                                              City                                           State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                           ✔




                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99
                                           ✔
                                                                             5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million
                                           ✔
                                                                             $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
Case 23-18534-JKS   Doc 1   Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document     Page 4 of 65
               Case 23-18534-JKS                                    Doc 1             Filed 09/29/23 Entered 09/29/23 14:52:24                                                                     Desc Main
                                                                                      Document     Page 5 of 65

 Fill in this information to identify the case:

                Italian German Exhibition Company (USA) Inc.
  Debtor name _________________________________________________________________

                                          District of New Jersey
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         509,980.76
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           509,980.76
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        2,703,684.95



4. Total liabilities ...........................................................................................................................................................................        2,703,684.95
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
            Case 23-18534-JKS                          Doc 1   Filed 09/29/23 Entered 09/29/23 14:52:24                          Desc Main
                                                               Document     Page 6 of 65
  Fill in this information to identify the case:

               Italian German Exhibition Company (USA) Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of New Jersey
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          Wells Fargo
    3.1. _________________________________________________  Checking
                                                           ______________________              9
                                                                                               ____  7
                                                                                                    ____ 0
                                                                                                         ____ 1
                                                                                                              ____               $______________________
                                                                                                                                   132,152.66
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
         Uncashed check from Bank of America
   4.1. _____________________________________________________________________________________________________                      72,640.19
                                                                                                                                 $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 204,792.85
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                              page 1
            Case 23-18534-JKS                     Doc 1     Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
Debtor                                                      Document
                 Italian German Exhibition Company (USA) Inc.
                _______________________________________________________  Page 7 of 65
                                                                                   Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     305,187.91
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    305,187.91
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    0.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    305,187.91
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case 23-18534-JKS                   Doc 1       Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                Italian German Exhibition Company (USA) Inc.
Debtor                                                      Document
               _______________________________________________________   Page 8 of 65
                                                                                   Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                              Date of the last         Net book value of        Valuation method used      Current value of
                                                       physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                 ______________                                                        $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
      No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used      Current value of debtor’s
                                                                                debtor's interest        for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                  page 3
            Case 23-18534-JKS                   Doc 1       Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
Debtor
                Italian German Exhibition Company (USA) Inc.Document
               _______________________________________________________   Page 9 of 65
                                                                                   Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office equipment                                                                    100.00                                       Unknown
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 0.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
           Case 23-18534-JKS                   Doc 1       Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                Italian German Exhibition Company (USA) Inc.
 Debtor                                                   Document
               _______________________________________________________  Page 10 of Case
                                                                                    65 number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________    ____________________   $______________________

    47.2___________________________________________________________         $________________    ____________________   $______________________

    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      No
      Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
             Case     23-18534-JKS Doc 1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                Italian German Exhibition Company (USA) Inc.
 Debtor                                                     Document
               _______________________________________________________ Page 11 of Case
                                                                                   65 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Office lease                                            Lease
55.1
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                0.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations                                                                             Unknown
    Customer lists
    ______________________________________________________________                   $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                0.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
            Case 23-18534-JKS                           Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
Debtor            Italian German Exhibition Company (USA) Inc.  Document
                 _______________________________________________________      Page 12 of Case
                                                                                          65 number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔ No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                         _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                         Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                               page 7
              Case 23-18534-JKS                          Doc 1          Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                   Italian German Exhibition Company (USA) Inc.
Debtor                                                                 Document
                  _______________________________________________________            Page 13 of Case
                                                                                                 65 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         204,792.85
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         305,187.91
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         509,980.76                        0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  509,980.76                                                                                     509,980.76
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
              Case 23-18534-JKS                           Doc 1      Filed 09/29/23 Entered 09/29/23 14:52:24                                    Desc Main
                                                                    Document      Page 14 of 65
  Fill in this information to identify the case:
              Italian German Exhibition Company (USA) Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of New Jersey

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim


      __________________________________________                                                                               $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________           No
    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                 No
    same property?                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                               $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                 No
    same property?                                                Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                No
           priority?
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
          Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                       Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        0
                                                                                                                                                            page 1 of ___
                 Case 23-18534-JKS               Doc 1      Filed 09/29/23 Entered 09/29/23 14:52:24                                Desc Main
   Fill in this information to identify the case:          Document      Page 15 of 65

   Debtor
                    Italian German Exhibition Company (USA) Inc.
                    __________________________________________________________________

                                           District of New Jersey
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Berey, Donald                                                                                                                    $_________________
                                                            Check all that apply.
    9727 Loch Linden Ct                                      Contingent
                                                             Unliquidated
     Fairfax, VA, 22032                                      Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Connecticut Department of Labor                         As of the petition filing date, the claim is: $______________________
                                                                                                            Unknown                  $_________________
                                                            Check all that apply.
    200 Folly Brook Blvd.
    Wethersfield, CT, 06109                                  Contingent
                                                            
                                                            ✔ Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Connecticut Department of Revenue Services                                                                                       $_________________
                                                            Check all that apply.
    450 Columbus Blvd. Suite 1
                                                             Contingent
    Hartford, CT, 06103                                     
                                                            ✔ Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 23
                                                                                                                                           page 1 of ___
              Case
               Italian 23-18534-JKS
                       German Exhibition CompanyDoc    1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                (USA) Inc.
  Debtor        _______________________________________________________
                Name                                       Document     Page 16 of Case
                                                                                    65 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
      Eckstein, Andreas                                 As of the petition filing date, the claim is:
      26 South Ridge Avenue                             Check all that apply.
                                                         Contingent
      Arlington Heights, IL, 60005                       Unliquidated
                                                         Disputed

        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔ No
                                                         Yes
  5
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
      Estey, Robin
                                                        As of the petition filing date, the claim is:
      18 Berkley Drive
                                                        Check all that apply.
      Yardley
      Morrisville, PA, 19067
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                          No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                         Yes

  6
2.____ Priority creditor’s name and mailing address                                                       Unknown
                                                                                                        $______________________   $_________________
      Georgia Department of Labor                       As of the petition filing date, the claim is:
      148 Andrew Young Intl Blvd, NE                    Check all that apply.
      Atlanta, GA, 30303                                 Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                           No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                     Yes
  7
2.____ Priority creditor’s name and mailing address                                                     Unknown
                                                        As of the petition filing date, the claim is: $______________________     $_________________
      Georgia Department of Revenue
                                                        Check all that apply.
      1800 Century Boulevard, NE
      Atlanta, GA, 30345
                                                         Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Taxes & Other Government Units
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                           No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          Yes

      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                2 of ___
                                                                                                                                              page __    23
               Case
                Italian 23-18534-JKS
                        German Exhibition CompanyDoc    1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 17 of Case
                                                                                     65 number (if known)_____________________________________
 Pa rt 1 .     Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
       Illinois Dept of Labor                           As of the petition filing date, the claim is:
       60 N. La Salle Street, C-1300                    Check all that apply.
       Chicago, IL, 60601                                Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed

        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔ No
                                                         Yes
  9
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
       Illinois Dept of Revenue
                                                        As of the petition filing date, the claim is:
       Suite 1100, 555 West Monroe Street
                                                        Check all that apply.
       Chicago, IL, 60661
                                                         Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                          No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                         Yes

  10
2.____ Priority creditor’s name and mailing address                                                       Unknown
                                                                                                        $______________________   $_________________
       Internal Revenue Service                         As of the petition filing date, the claim is:
       Centralized Insolvency Operation POB             Check all that apply.
       Philadelphia, PA, 19101                           Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                           No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                     Yes
  11
2.____ Priority creditor’s name and mailing address                                                     Unknown
                                                        As of the petition filing date, the claim is: $______________________     $_________________
      Kelly, Michelle
                                                        Check all that apply.
      22514 Prairie Crossing
                                                         Contingent
      Plainfield, IL, 60544
                                                         Unliquidated
                                                         Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                           No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                          Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                3 of ___
                                                                                                                                              page __    23
               Case
                Italian 23-18534-JKS
                        German Exhibition CompanyDoc    1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 18 of Case
                                                                                     65 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  12
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
       New Jersey Department of Treasury                As of the petition filing date, the claim is:
       3 John Fitch Way Fl 5                            Check all that apply.
       PO Box 245                                        Contingent
       Trenton, NJ, 08695                               
                                                        ✔ Unliquidated
                                                         Disputed

        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔ No
                                                         Yes
  13
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
       New Jersey Dept of Labor and Workforce
                                                        As of the petition filing date, the claim is:
       1 John Fitch Plz
                                                        Check all that apply.
       Trenton, NJ, 08611
                                                         Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                          No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                         Yes

  14
2.____ Priority creditor’s name and mailing address                                                       Unknown
                                                                                                        $______________________   $_________________
       Pennsylvania Department of Labor and Industry    As of the petition filing date, the claim is:
       1700 Labor & Industry Building                   Check all that apply.
       Harrisburg, PA, 17120                             Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                           No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                     Yes
  15
2.____ Priority creditor’s name and mailing address                                                     Unknown
                                                        As of the petition filing date, the claim is: $______________________     $_________________
    Pennsylvanie Department of Revenue
                                                        Check all that apply.
    Looby Strawberry SQ
    Harrisburg, PA, 17128-0101
                                                         Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Taxes & Other Government Units
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                           No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                4 of ___
                                                                                                                                              page __    23
               Case
                Italian 23-18534-JKS
                        German Exhibition CompanyDoc    1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 19 of Case
                                                                                     65 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  16
2.____ Priority creditor’s name and mailing address                                                        Unknown
                                                                                                          $______________________   $_________________
       Texas Comptroller of Public Accounts               As of the petition filing date, the claim is:
       Lyndon B. Johnson State Office Building,           Check all that apply.
       111 East 17th Street                                Contingent
       Austin, TX, 78774                                  
                                                          ✔ Unliquidated
                                                           Disputed

        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes
  17
2.____ Priority creditor’s name and mailing address                                                        Unknown
                                                                                                          $______________________   $_________________
       Texas Workforce Commission
                                                          As of the petition filing date, the claim is:
       101 E 15th Street
                                                          Check all that apply.
       Austin, TX, 78778
                                                           Contingent
                                                          
                                                          ✔ Unliquidated
                                                           Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                            No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

  18
2.____ Priority creditor’s name and mailing address                                                         Unknown
                                                                                                          $______________________   $_________________
       Virginia Dept of Labor and Industry                As of the petition filing date, the claim is:
       Main Street Center 600 East Main Street, Suite     Check all that apply.
       207                                                 Contingent
       Richmond, VA, 23219                                
                                                          ✔ Unliquidated
                                                           Disputed
                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Taxes & Other Government Units
                                                           _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                    8                       Yes
  19
2.____ Priority creditor’s name and mailing address                                                       Unknown
                                                          As of the petition filing date, the claim is: $______________________     $_________________
    Virginia Tax
                                                          Check all that apply.
    Office of Customer Services P.O. Box 1115
    Richmond, VA, 23218-1115
                                                           Contingent
                                                          
                                                          ✔ Unliquidated
                                                           Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Taxes & Other Government Units
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                             No
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                5 of ___
                                                                                                                                                page __    23
               Case
                Italian 23-18534-JKS
                        German Exhibition CompanyDoc    1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 20 of Case
                                                                                     65 number (if known)_____________________________________
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  20
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
       Wisconsin Department of Revenue                  As of the petition filing date, the claim is:
       PO Box 8949                                      Check all that apply.
       Madison, WI, 53708-8949                           Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed

        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔ No
                                                         Yes
  21
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
       Wisconsin Department of Workforce
                                                        As of the petition filing date, the claim is:
       Development
                                                        Check all that apply.
       201 E. Washington Ave
       Madison, WI, 53707
                                                         Contingent
                                                        
                                                        ✔ Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                          No
                                   8
        claim: 11 U.S.C. § 507(a) (_____)
                                                         Yes

2.____ Priority creditor’s name and mailing address
                                                                                                        $______________________   $_________________
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     No
        claim: 11 U.S.C. § 507(a) (_____)                 Yes

2.____ Priority creditor’s name and mailing address
                                                        As of the petition filing date, the claim is: $______________________     $_________________
                                                        Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          No
        claim: 11 U.S.C. § 507(a) (_____)
                                                          Yes

       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                6 of ___
                                                                                                                                              page __    23
             Case
               Italian 23-18534-JKS
                       German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                (USA) Inc.
  Debtor       _______________________________________________________
               Name                                        Document    Page 21 of Case
                                                                                   65 number (if known)_____________________________________
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    5G-ACIA Alliance for Connected Industries &                                                                              13,200.00
                                                                                                                           $________________________________
                                                                            Contingent
    Automation                                                              Unliquidated
    Lyoner Strasse 9                                                        Disputed
                                                                                                   Credit Card Debt
    Frankfurt Hesse, Germany, 60528                                        Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Adastra                                                                Check all that apply.                             3,512.20
                                                                                                                           $________________________________
    Royal Bank Plaza South Tower                                            Contingent
    200 Bay Street Suite 1401                                               Unliquidated
    Toronto, ON, MSJ2J2                                                     Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    AirTAC USA Corporation                                                                                                   13,200.00
                                                                                                                           $________________________________
                                                                            Contingent
    21202 Park Row Dr                                                       Unliquidated
                                                                            Disputed
     Katy, TX, 77449
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Amazon Web Services                                                    Check all that apply.
                                                                                                                             31,600.00
                                                                                                                           $________________________________
    410 Terry Ave N                                                         Contingent
    Seattle, WA, 98104                                                      Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    American Express                                                                                                         26,077.54
                                                                                                                           $________________________________
                                                                           Check all that apply.
    PO Box 360001                                                           Contingent
                                                                            Unliquidated
    Fort Lauderdale, FL, 33336-0001                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AT&T Business                                                                                                            8,100.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    208 S Akard Street, 17 Floor                                            Contingent
                                                                            Unliquidated
     Dallas, TX, 75202                                                      Disputed
                                                                           Basis for the claim:    Credit Card Debt

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   7 of ___
                                                                                                                                                  page __    23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 22 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             466.00
                                                                                                                     $________________________________
 Canon Financial Services                                             Contingent
 14904 Collections Center Drive                                       Unliquidated
                                                                      Disputed
 Chicago, IL, 60693-0149
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       47,067.43
                                                                                                                     $________________________________
 Capital Improvement Bd of Managers
 100 South Capitol Avenue                                             Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46225                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CIMON Inc.                                                          Check all that apply.
                                                                                                                      6,600.00
                                                                                                                     $________________________________
 2435 W Horizon Ridge Pkwy                                            Contingent
 #100                                                                 Unliquidated
 Henderson, NV, 89052                                                 Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      134.67
                                                                                                                     $________________________________
 ComEd                                                               Check all that apply.
 PO Box 611                                                           Contingent
                                                                      Unliquidated
 Carol Stream, IL, 60197-6111                                         Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Control System Integrators Association                              Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 111 West Jackson Blvd                                                Contingent
 Suite 1412                                                           Unliquidated
 Chicago, IL, 60604                                                   Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                               8 of ___
                                                                                                                                            page __    23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 23 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             25,000.00
                                                                                                                     $________________________________
 Convention Data Services                                             Contingent
 7 Technology Park Dr.                                                Unliquidated
                                                                      Disputed
 Buzzards Bay, MA, 02532
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       8,897.56
                                                                                                                     $________________________________
 Crowne Plaza Indianapolis Downtown
 123 W Louisiana Street                                               Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46225                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DMAG                                                                Check all that apply.
                                                                                                                      199,258.82
                                                                                                                     $________________________________
 Messegelande                                                         Contingent
                                                                      Unliquidated
 30521 Hanover Germany                                                Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      6,652.80
                                                                                                                     $________________________________
 East Montgomery County Improvement District                         Check all that apply.
 21575 Hwy 59 North                                                   Contingent
                                                                      Unliquidated
 New Caney, TX, 77357                                                 Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Embassy Suites by Hilton Indianapolis Downtown                      Check all that apply.
                                                                                                                       12,831.30
                                                                                                                     $________________________________
 110 W Washington Street                                              Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46204                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                               9 of ___
                                                                                                                                            page __    23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 24 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Ericsson                                                             Contingent
 300 Legacy Drive                                                     Unliquidated
 Bldg Tejas                                                           Disputed
 Plano, TX, 75024
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       6,584.95
                                                                                                                     $________________________________
 ETI LLC
 51 Everett Drive                                                     Contingent
 Ste A40                                                              Unliquidated
 Princeton Junction, NJ, 08550                                        Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Eventsphere                                                         Check all that apply.
                                                                                                                      22,291.50
                                                                                                                     $________________________________
 55 Marietta Street NW                                                Contingent
 Suite 900                                                            Unliquidated
 Atlanta, GA, 30303                                                   Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12,485.00
                                                                                                                     $________________________________
 Fairfield Inn                                                       Check all that apply.
 501 W Washington Street                                              Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46204                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Forcam Inc.                                                         Check all that apply.
                                                                                                                       3,300.00
                                                                                                                     $________________________________
 3825 Edwards Road                                                    Contingent
 Suite 103                                                            Unliquidated
 Cincinnati, OH, 45209                                                Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 10 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 25 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Fortinet                                                             Contingent
 899 Kifer Road                                                       Unliquidated
                                                                      Disputed
 Sunnyvale, CA, 94086
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       32,279.00
                                                                                                                     $________________________________
 Global Experience Specialists Inc.
 7000 Lindell Road                                                    Contingent
                                                                      Unliquidated
 Las Vegas, NV, 89118                                                 Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hampton Inn Indianapolis Downtown                                   Check all that apply.
                                                                                                                      11,002.00
                                                                                                                     $________________________________
 105 S Meridian Stret                                                 Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46225                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      600,000.00
                                                                                                                     $________________________________
 HFI GmBH                                                            Check all that apply.
 Messegelande                                                         Contingent
 Hannover 30521 Niederachsen                                          Unliquidated
 Germany                                                              Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hilton Indianapolis Hotel & Suites                                  Check all that apply.
                                                                                                                       23,381.00
                                                                                                                     $________________________________
 120 W Market Street                                                  Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46204                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 11 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 26 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6,600.00
                                                                                                                     $________________________________
 Hive MQ                                                              Contingent
 Postplatz 397                                                        Unliquidated
                                                                      Disputed
 Garden City, UT, 84028
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       5,100.00
                                                                                                                     $________________________________
 Horner Automation Group
 59 South State Avenue                                                Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46201                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hyattplace Hyatt House Downtown Indianapolis                        Check all that apply.
                                                                                                                      12,895.00
                                                                                                                     $________________________________
 130 S Pennsylvania Street                                            Contingent
                                                                      Unliquidated
 Indianapolis, IN, 42604                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,300.00
                                                                                                                     $________________________________
 IKO International                                                   Check all that apply.
 91 Walsh Drive                                                       Contingent
                                                                      Unliquidated
 Parsippany, NJ, 07054                                                Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Industrial Andons, LLC                                              Check all that apply.
                                                                                                                       3,408.90
                                                                                                                     $________________________________
 391 C Sportsplex Dr                                                  Contingent
                                                                      Unliquidated
 Dripping Springs, TX, 78620                                          Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 12 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 27 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,300.00
                                                                                                                     $________________________________
 Industrial PC, Inc.                                                  Contingent
 9800 Association Court                                               Unliquidated
                                                                      Disputed
 Indianapolis, IN, 46280
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 International Society of Automation
 PO Box 12277                                                         Contingent
                                                                      Unliquidated
 Durham, NC, 27709                                                    Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Italian Exhibition Group S.P.A.                                     Check all that apply.
                                                                                                                      Unknown
                                                                                                                     $________________________________
 Via Emilia 155 Cap 47921                                             Contingent
 Rimini (RN) Italy                                                   
                                                                     ✔
                                                                       Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      446,340.56
                                                                                                                     $________________________________
 Italian German Exhibition Company (Canada)                          Check all that apply.
 480 University Avenue Ste 1500                                       Contingent
 Toronto Ontario M5G 1V2 Canada                                       Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Italian German Exhibition Company SRL                               Check all that apply.
                                                                                                                       600,000.00
                                                                                                                     $________________________________
 Via Emilia no. 155-47921                                             Contingent
 Rimini (RN) Italy                                                    Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 13 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 28 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,300.00
                                                                                                                     $________________________________
 Katlax Enterprises Pvt Ltd.                                          Contingent
 Block No. 117-119                                                    Unliquidated
 Santej-Vadsar Road                                                   Disputed
 Gandhinagar Guarat India, 382721
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Keysight
 1400 Fountaingrove Pkwy                                              Contingent
                                                                      Unliquidated
 Santa Rosa, CA, 95403                                                Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kinexon                                                             Check all that apply.
                                                                                                                      7,329.14
                                                                                                                     $________________________________
 200 S Wacker Drive Suite 3100                                        Contingent
                                                                      Unliquidated
 Chicago, IL, 60606                                                   Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      6,800.00
                                                                                                                     $________________________________
 Launchpad Build, Inc.                                               Check all that apply.
 357 Oxenbridge Way                                                   Contingent
                                                                      Unliquidated
 Chapin, SC, 29036                                                    Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Map Your Show LLC                                                   Check all that apply.
                                                                                                                       25,615.00
                                                                                                                     $________________________________
 PO Box 638886                                                        Contingent
                                                                      Unliquidated
 Cincinnati, OH, 45263-8886                                           Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 14 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 29 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             97,371.50
                                                                                                                     $________________________________
 MDG                                                                  Contingent
 2445 5th Avenue                                                      Unliquidated
 Ste 450                                                              Disputed
 San Diego, CA, 92101
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       13,859.00
                                                                                                                     $________________________________
 Mechatronic Systems
 5220 E 64th Street                                                   Contingent
 Suite 200                                                            Unliquidated
 Indianapolis, IN, 46220                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 MFA                                                                 Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 5177 Brandin Court                                                   Contingent
                                                                      Unliquidated
 Fremont, CA, 94538                                                   Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12,910.00
                                                                                                                     $________________________________
 Moxa Inc.                                                           Check all that apply.
 601 Valencia Ave                                                     Contingent
 Suite 100                                                            Unliquidated
 Brea, CA, 92823                                                      Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Neousys Technology America Inc.                                     Check all that apply.
                                                                                                                       3,300.00
                                                                                                                     $________________________________
 3384 Commercial Avenue                                               Contingent
                                                                      Unliquidated
 Northbrook, IL, 60062                                                Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 15 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 30 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             9,900.00
                                                                                                                     $________________________________
 Norgren                                                              Contingent
 5400 S Delaware Street                                               Unliquidated
                                                                      Disputed
 Littleton, CO, 80120
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       17,328.00
                                                                                                                     $________________________________
 O'Hare Plaza II, LLC
 23428 Network Place                                                  Contingent
 Chicago, IL, 60673                                                   Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Omni Severin Hotel                                                  Check all that apply.
                                                                                                                      50,649.00
                                                                                                                     $________________________________
 40 W Jackson Place                                                   Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46225                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13,200.00
                                                                                                                     $________________________________
 OPC Foundation                                                      Check all that apply.
 1601 N 82d Street                                                    Contingent
 Suite 3B                                                             Unliquidated
 Scottsdale, AZ, 85255                                                Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Peakboard America Inc.                                              Check all that apply.
                                                                                                                       3,300.00
                                                                                                                     $________________________________
 150 N Michigan Ave                                                   Contingent
                                                                      Unliquidated
 Chicago, IL, 60601                                                   Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 16 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 31 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             93,417.00
                                                                                                                     $________________________________
 Pennsylvania Convention Center                                       Contingent
 Finance Department                                                   Unliquidated
 1101 Arch Street                                                    
                                                                     ✔ Disputed
 Philadelphia, PA, 19107
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       3,512.20
                                                                                                                     $________________________________
 Powercast Corporation
 620 Alpha Drive                                                      Contingent
                                                                      Unliquidated
 Pittsburgh, PA, 15238                                                Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Premio Inc.                                                         Check all that apply.
                                                                                                                      6,600.00
                                                                                                                     $________________________________
 918 Radecki Court                                                    Contingent
                                                                      Unliquidated
 Rowland Heights, CA, 91748                                           Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,400.00
                                                                                                                     $________________________________
 PULS L.P.                                                           Check all that apply.
 1640 White Oak Circle                                                Contingent
 Suite A                                                              Unliquidated
 Aurora, IL, 60502                                                    Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 RFID, Inc.                                                          Check all that apply.
                                                                                                                       3,408.90
                                                                                                                     $________________________________
 14190 Jewell Ave                                                     Contingent
 #4                                                                   Unliquidated
 Aurora, CO, 80012                                                    Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 17 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 32 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Rittal North America LLC                                             Contingent
 425 N Martingale Rd                                                  Unliquidated
 Suite 400                                                            Disputed
 Schaumburg, IL, 60173
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Salesforce Inc.
 PO Box 203141                                                        Contingent
                                                                      Unliquidated
 Dallas, TX, 75320-3141                                               Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sewio Networks SRO                                                  Check all that apply.
                                                                                                                      3,816.94
                                                                                                                     $________________________________
 Purkynova 649/127                                                    Contingent
                                                                      Unliquidated
 Brno, Czech Republic, 612 00                                         Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,816.94
                                                                                                                     $________________________________
 Siemens Digital Industries                                          Check all that apply.
 100 Technology Drive                                                 Contingent
                                                                      Unliquidated
 Alpharetta, GA, 30005                                                Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Softserve Inc.                                                      Check all that apply.
                                                                                                                       13,200.00
                                                                                                                     $________________________________
 201 W 5th Street                                                     Contingent
 Suite 1550                                                           Unliquidated
 Austin, TX, 78701                                                    Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 18 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 33 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,400.00
                                                                                                                     $________________________________
 Sung-Il Machinery Co. Ltd.                                           Contingent
 25, Seousandan-ro 1-gil                                              Unliquidated
                                                                      Disputed
 Gyeyang-gu, Icheon, Korea, 21072
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       26,400.00
                                                                                                                     $________________________________
 Suzhou Haitong Robotic System Co. Inc.
 Block 3 No. 1 Zhufeng Rd.                                            Contingent
 Mudu Town Wuzhong Dist.                                              Unliquidated
 Suzhou, Jiangsu, China, 215101                                       Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Syscort Global Services Private Limited                             Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 D-40/5, N-12, Hudco TV Center                                        Contingent
 Aurangabad                                                           Unliquidated
 Maharashtra, India, 431001                                           Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,300.00
                                                                                                                     $________________________________
 Tekscape                                                            Check all that apply.
 132 W 35th Street                                                    Contingent
                                                                      Unliquidated
 New York, NY, 10001                                                  Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 The Westin Indianapolis                                             Check all that apply.
                                                                                                                       8,164.00
                                                                                                                     $________________________________
 241 W Washington Street                                              Contingent
                                                                      Unliquidated
 Indianapolis, IN, 46204                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 19 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 34 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13,200.00
                                                                                                                     $________________________________
 THK America Inc.                                                     Contingent
 200 E Commerce Drive                                                 Unliquidated
                                                                      Disputed
 Schaumburg, IL, 60173
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       15,000.00
                                                                                                                     $________________________________
 TUV Rheinland
 295 Foster Street                                                    Contingent
                                                                      Unliquidated
 Littleton, MA, 01460                                                 Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 TXOne Networks                                                      Check all that apply.
                                                                                                                      13,200.00
                                                                                                                     $________________________________
 222 Las Colinas Blvd W                                               Contingent
                                                                      Unliquidated
 Irving, TX, 75039                                                    Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,400.00
                                                                                                                     $________________________________
 US Signal                                                           Check all that apply.
 201 Ionia Avenue SW                                                  Contingent
                                                                      Unliquidated
 Grand Rapids, MI, 49503                                              Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 VDMA Machine Information Interoperability                           Check all that apply.
                                                                                                                       6,600.00
                                                                                                                     $________________________________
 Lyoner Strasse 18                                                    Contingent
 Frankfurt am Main                                                    Unliquidated
 Germany, 60528                                                       Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 20 of ___
                                                                                                                                                        23
               Case
                 Italian23-18534-JKS
                        German Exhibition CompanyDoc   1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                 (USA) Inc.
  Debtor         _______________________________________________________
                 Name                                       Document     Page 35 of Case
                                                                                     65 number (if known)_____________________________________
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,512.20
                                                                                                                     $________________________________
 Velavu                                                               Contingent
 168 Dalhousie St                                                     Unliquidated
 Ottowa                                                               Disputed
 Ontario Canada, K1N7C4
                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       3,408.90
                                                                                                                     $________________________________
 VKS Visual Knowledge Share
 1241 Rue des Cascades                                                Contingent
 Chateaugay                                                           Unliquidated
 QC Canada, J6J4Z2                                                    Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wiser Systems Inc.                                                  Check all that apply.
                                                                                                                      6,600.00
                                                                                                                     $________________________________
 819 W Hargett St.                                                    Contingent
                                                                      Unliquidated
 Raleigh, NC, 27603                                                   Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      6,600.00
                                                                                                                     $________________________________
 Zaber Technologies Inc.                                             Check all that apply.
 #2- 605 West Kent Ave N                                              Contingent
                                                                      Unliquidated
 Vancouver BV Canada, V6P 6T7                                         Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
                                                                                                                                                 21 of ___
                                                                                                                                                        23
                 Case     23-18534-JKS
                  Italian German Exhibition Company Doc    1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                                    (USA) Inc.
     Debtor        _______________________________________________________
                   Name                                        Document    Page 36 of Case
                                                                                       65 number (if known)_____________________________________
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Internal Revenue Service
4.1.      77 K St. NE.                                                                              2.10
                                                                                               Line _____
          Washington, DC, 20002                                                                                                                 ________________
                                                                                                    Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                              23
                                                                                                                                                                22 of ___
                                                                                                                                                           page __
            Case
             Italian 23-18534-JKS
                     German Exhibition CompanyDoc    1 Filed 09/29/23 Entered 09/29/23 14:52:24 Desc Main
                                              (USA) Inc.
 Debtor       _______________________________________________________
              Name                                       Document     Page 37 of Case
                                                                                  65 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                            Total of claim amounts



5a. Total claims from Part 1                                                                    5a.
                                                                                                             0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                    5b.   +      2,703,684.95
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                   2,703,684.95
                                                                                                5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page __
                                                                                                                                          23 of ___
                                                                                                                                                 23
            Case 23-18534-JKS                  Doc 1       Filed 09/29/23 Entered 09/29/23 14:52:24                               Desc Main
                                                          Document      Page 38 of 65
 Fill in this information to identify the case:

             Italian German Exhibition Company (USA) Inc.
 Debtor name __________________________________________________________________

                                         District of New Jersey
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       7
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Office lease                                     O'Hare Plaza II LLC
         State what the contract or    Lessee                                           c/o Fulcrom Operating Company LLC
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        8725 W Higgins Rd Ste 805
                                                                                        Chicago, IL, 60631
         State the term remaining
         List the contract number of
         any government contract

                                       Copier lease                                     Canon Financial Services
         State what the contract or    Lessee                                           14904 Collections Center Drive
 2.2     lease is for and the nature
         of the debtor’s interest                                                       Chicago, IL, 60693

         State the term remaining
         List the contract number of
         any government contract

                                       License                                          Deutsche Messe
         State what the contract or    Lessee                                           Messegelande
 2.3     lease is for and the nature
         of the debtor’s interest                                                       D-30521 Hannover

         State the term remaining
         List the contract number of
         any government contract

                                       IT services                                      ETI LLC
         State what the contract or
 2.4                                   Lessee                                           51 Everett Drive
         lease is for and the nature
         of the debtor’s interest                                                       Princeton Junction, NJ, 08550

         State the term remaining
         List the contract number of
         any government contract

                                       Hosting agreement                                 Federal State of Lower Saxony
         State what the contract or
 2.5     lease is for and the nature
                                                                                         Friedrichswall 1
         of the debtor’s interest                                                        30159 Hannover Germany

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
            Case 23-18534-JKS                   Doc 1       Filed 09/29/23 Entered 09/29/23 14:52:24                                 Desc Main
                                                           Document      Page 39 of 65
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Italian German Exhibition Company (USA) Inc.

                                         District of New Jersey
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                                                          D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 40 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 41 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 42 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 43 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 44 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 45 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 46 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 47 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 48 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 49 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 50 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 51 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 52 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 53 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 54 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 55 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 56 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 57 of 65
Case 23-18534-JKS   Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                            Document      Page 58 of 65
Case 23-18534-JKS                Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24                Desc Main
                                         Document      Page 59 of 65

5G-ACIA Alliance for Connected Industries & A            Connecticut Department of Labor
Lyoner Strasse 9                                         200 Folly Brook Blvd.
Frankfurt Hesse, Germany, 60528                          Wethersfield, CT 06109


Adastra                                                  Connecticut Department of Revenue Services
Royal Bank Plaza South Tower                             450 Columbus Blvd. Suite 1
200 Bay Street Suite 1401                                Hartford, CT 06103
Toronto, ON, MSJ2J2

                                                         Control System Integrators Association
AirTAC USA Corporation                                   111 West Jackson Blvd
21202 Park Row Dr                                        Suite 1412
Katy, TX 77449                                           Chicago, IL 60604


Amazon Web Services                                      Convention Data Services
410 Terry Ave N                                          7 Technology Park Dr.
Seattle, WA 98104                                        Buzzards Bay, MA 02532


American Express                                         Crowne Plaza Indianapolis Downtown
PO Box 360001                                            123 W Louisiana Street
Fort Lauderdale, FL 33336-0001                           Indianapolis, IN 46225


AT&T Business                                            Deutsche Messe
208 S Akard Street, 17 Floor                             Messegelande
Dallas, TX 75202                                         D-30521 Hannover,


Berey, Donald                                            DMAG
9727 Loch Linden Ct                                      Messegelande
Fairfax, VA 22032                                        30521 Hanover Germany,


Canon Financial Services                                 East Montgomery County Improvement District
14904 Collections Center Drive                           21575 Hwy 59 North
Chicago, IL 60693-0149                                   New Caney, TX 77357


Canon Financial Services                                 Eckstein, Andreas
14904 Collections Center Drive                           26 South Ridge Avenue
Chicago, IL 60693                                        Arlington Heights, IL 60005


Capital Improvement Bd of Managers                       Embassy Suites by Hilton Indianapolis Downtow
100 South Capitol Avenue                                 110 W Washington Street
Indianapolis, IN 46225                                   Indianapolis, IN 46204


CIMON Inc.                                               Ericsson
2435 W Horizon Ridge Pkwy                                300 Legacy Drive
Henderson, NV 89052                                      Bldg Tejas
                                                         Plano, TX 75024

ComEd
PO Box 611                                               Estey, Robin
Carol Stream, IL 60197-6111                              18 Berkley Drive
                                                         Yardley
                                                         Morrisville, PA 19067
Case 23-18534-JKS               Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24              Desc Main
                                        Document      Page 60 of 65

ETI LLC                                                 Hilton Indianapolis Hotel & Suites
51 Everett Drive                                        120 W Market Street
Ste A40                                                 Indianapolis, IN 46204
Princeton Junction, NJ 08550

                                                        Hive MQ
ETI LLC                                                 Postplatz 397
51 Everett Drive                                        Garden City, UT 84028
Princeton Junction, NJ 08550

                                                        Horner Automation Group
Eventsphere                                             59 South State Avenue
55 Marietta Street NW                                   Indianapolis, IN 46201
Suite 900
Atlanta, GA 30303
                                                        Hyattplace Hyatt House Downtown Indianapolis
                                                        130 S Pennsylvania Street
Fairfield Inn                                           Indianapolis, IN 42604
501 W Washington Street
Indianapolis, IN 46204
                                                        IKO International
                                                        91 Walsh Drive
Federal State of Lower Saxony                           Parsippany, NJ 07054
Friedrichswall 1
30159 Hannover Germany
                                                        Illinois Dept of Labor
                                                        60 N. La Salle Street, C-1300
Forcam Inc.                                             Chicago, IL 60601
3825 Edwards Road
Suite 103
Cincinnati, OH 45209                                    Illinois Dept of Revenue
                                                        Suite 1100, 555 West Monroe Street
                                                        Chicago, IL 60661
Fortinet
899 Kifer Road
Sunnyvale, CA 94086                                     Industrial Andons, LLC
                                                        391 C Sportsplex Dr
                                                        Dripping Springs, TX 78620
Georgia Department of Labor
148 Andrew Young Intl Blvd, NE
Atlanta, GA 30303                                       Industrial PC, Inc.
                                                        9800 Association Court
                                                        Indianapolis, IN 46280
Georgia Department of Revenue
1800 Century Boulevard, NE
Atlanta, GA 30345                                       Internal Revenue Service
                                                        Centralized Insolvency Operation POB
                                                        Philadelphia, PA 19101
Global Experience Specialists Inc.
7000 Lindell Road
Las Vegas, NV 89118                                     Internal Revenue Service
                                                        77 K St. NE.
                                                        Washington, DC 20002
Hampton Inn Indianapolis Downtown
105 S Meridian Stret
Indianapolis, IN 46225                                  International Society of Automation
                                                        PO Box 12277
                                                        Durham, NC 27709
HFI GmBH
Messegelande
Hannover 30521 Niederachsen
Germany,
Case 23-18534-JKS                 Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24                Desc Main
                                          Document      Page 61 of 65

Italian Exhibition Group S.P.A.                           Moxa Inc.
Via Emilia 155 Cap 47921                                  601 Valencia Ave
Rimini (RN) Italy                                         Suite 100
                                                          Brea, CA 92823

Italian German Exhibition Company (Canada)
480 University Avenue Ste 1500                            Neousys Technology America Inc.
Toronto Ontario M5G 1V2 Canada,                           3384 Commercial Avenue
                                                          Northbrook, IL 60062

Italian German Exhibition Company SRL
Via Emilia no. 155-47921                                  New Jersey Department of Treasury
Rimini (RN) Italy                                         3 John Fitch Way Fl 5
                                                          PO Box 245
                                                          Trenton, NJ 08695
Katlax Enterprises Pvt Ltd.
Block No. 117-119
Santej-Vadsar Road                                        New Jersey Dept of Labor and Workforce
Gandhinagar Guarat India, 382721                          1 John Fitch Plz
                                                          Trenton, NJ 08611

Kelly, Michelle
22514 Prairie Crossing                                    Norgren
Plainfield, IL 60544                                      5400 S Delaware Street
                                                          Littleton, CO 80120

Keysight
1400 Fountaingrove Pkwy                                   O'Hare Plaza II LLC
Santa Rosa, CA 95403                                      c/o Fulcrom Operating Company LLC
                                                          8725 W Higgins Rd Ste 805
                                                          Chicago, IL 60631
Kinexon
200 S Wacker Drive Suite 3100
Chicago, IL 60606                                         O'Hare Plaza II, LLC
                                                          23428 Network Place
                                                          Chicago, IL 60673
Launchpad Build, Inc.
357 Oxenbridge Way
Chapin, SC 29036                                          Omni Severin Hotel
                                                          40 W Jackson Place
                                                          Indianapolis, IN 46225
Map Your Show LLC
PO Box 638886
Cincinnati, OH 45263-8886                                 OPC Foundation
                                                          1601 N 82d Street
                                                          Suite 3B
MDG                                                       Scottsdale, AZ 85255
2445 5th Avenue
Ste 450
San Diego, CA 92101                                       Peakboard America Inc.
                                                          150 N Michigan Ave
                                                          Chicago, IL 60601
Mechatronic Systems
5220 E 64th Street
Suite 200                                                 Pennsylvania Convention Center
Indianapolis, IN 46220                                    Finance Department
                                                          1101 Arch Street
                                                          Philadelphia, PA 19107
MFA
5177 Brandin Court
Fremont, CA 94538
Case 23-18534-JKS              Doc 1    Filed 09/29/23 Entered 09/29/23 14:52:24                  Desc Main
                                       Document      Page 62 of 65

Pennsylvania Department of Labor and Industry          Suzhou Haitong Robotic System Co. Inc.
1700 Labor & Industry Building                         Block 3 No. 1 Zhufeng Rd.
Harrisburg, PA 17120                                   Mudu Town Wuzhong Dist.
                                                       Suzhou, Jiangsu, China, 215101

Pennsylvanie Department of Revenue
Looby Strawberry SQ                                    Syscort Global Services Private Limited
Harrisburg, PA 17128-0101                              D-40/5, N-12, Hudco TV Center
                                                       Aurangabad
                                                       Maharashtra, India, 431001
Powercast Corporation
620 Alpha Drive
Pittsburgh, PA 15238                                   Tekscape
                                                       132 W 35th Street
                                                       New York, NY 10001
Premio Inc.
918 Radecki Court
Rowland Heights, CA 91748                              Texas Comptroller of Public Accounts
                                                       Lyndon B. Johnson State Office Building,
                                                       111 East 17th Street
PULS L.P.                                              Austin, TX 78774
1640 White Oak Circle
Suite A
Aurora, IL 60502                                       Texas Workforce Commission
                                                       101 E 15th Street
                                                       Austin, TX 78778
RFID, Inc.
14190 Jewell Ave
Aurora, CO 80012                                       The Westin Indianapolis
                                                       241 W Washington Street
                                                       Indianapolis, IN 46204
Rittal North America LLC
425 N Martingale Rd
Suite 400                                              THK America Inc.
Schaumburg, IL 60173                                   200 E Commerce Drive
                                                       Schaumburg, IL 60173

Salesforce Inc.
PO Box 203141                                          TUV Rheinland
Dallas, TX 75320-3141                                  295 Foster Street
                                                       Littleton, MA 01460

Sewio Networks SRO
Purkynova 649/127                                      TXOne Networks
Brno, Czech Republic, 612 00                           222 Las Colinas Blvd W
                                                       Irving, TX 75039

Siemens Digital Industries
100 Technology Drive                                   US Signal
Alpharetta, GA 30005                                   201 Ionia Avenue SW
                                                       Grand Rapids, MI 49503

Softserve Inc.
201 W 5th Street                                       VDMA Machine Information Interoperability
Suite 1550                                             Lyoner Strasse 18
Austin, TX 78701                                       Frankfurt am Main
                                                       Germany, 60528

Sung-Il Machinery Co. Ltd.
25, Seousandan-ro 1-gil
Gyeyang-gu, Icheon, Korea, 21072
Case 23-18534-JKS             Doc 1         Filed 09/29/23 Entered 09/29/23 14:52:24   Desc Main
                                           Document      Page 63 of 65

Velavu
168 Dalhousie St
Ottowa
Ontario Canada, K1N7C4


Virginia Dept of Labor and Industry
Main Street Center 600 East Main Street,
Richmond, VA 23219


Virginia Tax
Office of Customer Services P.O. Box 111
Richmond, VA 23218-1115


VKS Visual Knowledge Share
1241 Rue des Cascades
Chateaugay
QC Canada, J6J4Z2


Wisconsin Department of Revenue
PO Box 8949
Madison, WI 53708-8949


Wisconsin Department of Workforce Development
201 E. Washington Ave
Madison, WI 53707


Wiser Systems Inc.
819 W Hargett St.
Raleigh, NC 27603


Zaber Technologies Inc.
Vancouver BV Canada, V6P 6T7
 Case 23-18534-JKS                       Doc 1         Filed 09/29/23 Entered 09/29/23 14:52:24                                            Desc Main
                                                      Document      Page 64 of 65
B2030 (Form 2030) (12/15)




                                      United States Bankruptcy Court
                                                                      New Jersey
                                        _______________ District Of _______________


In re
Italian German Exhibition Company (USA) Inc.                                                    Case No. ___________________

Debtor                                                                                          Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                                 15,306
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                              15,306
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                     0
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

            X Debtor                                 Other (specify)

3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)

4.          X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
 Case 23-18534-JKS               Doc 1       Filed 09/29/23 Entered 09/29/23 14:52:24                              Desc Main
                                            Document      Page 65 of 65
B2030 (Form 2030) (12/15)




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

Representation of Debtor in any litigation within or relating that bankruptcy case, such as litigations under
Chapter 5 of the Bankruptcy Code.




                                                     CERTIFICATION

             I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
          me for representation of the debtor(s) in this bankruptcy proceeding.
                                                  /s/ Vincent J. Roldan
          ______________________
                Sept. 29, 2023
          Date                                     Signature of Attorney

                                                  Mandelbaum Barrett PC
                                                  Name of law firm
